Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 1 of 14 PageID #: 1223




     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
     UNITED STATES OF AMERICA,
                                                        MEMORANDUM & ORDER
                   -against-                                21-CR-80-NGG
     DOUGLASS MACKEY,
                               Defendant.


           NICHOLAS G. GARAUFIS, United States District Judge.
           Pending before the court are Defendant Douglass Mackey's mo-
           tions in limine. (Def. Mot. (Dkt. 55) .) The court now issues its
           rulings on several of these evidentiary issues, while reserving
           judgment on others. For the reasons set forth below:
           Defendant Mackey's motion to preclude all protected speech
           prior to September 2016 is DENIED.
           Defendant Mackey's motion to preclude Twitter's reasons for sus-
           pending the "Ricky Vaughn" Twitter account is GRANTED in
           PART and DENIED in PART. The Government will not be able to
           introduce Twitter's reasons for suspending the Ricky Vaughn
           Twitter account on October 6, 2015 but will be allowed to sub-
           mit, to the extent otherwise admissible, the Defendant and his
           co-conspirators' statements regarding the reasons for suspension
           of the account on November 2, 2016. Statements by Twitter or
           others regarding the November 2, 2016 suspension that were re-
           ceived by the Defendant Mackey or his co-conspirators may be
           offered for their effect on the listener. The Government is also
           permitted to provide evidence regarding the fact that both sus-
           pensions took place, but only as is relevant to explaining the
           nature of the conspiracy and timeline of events leading up to and
           constituting the charged conduct.




                                            1
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 2 of 14 PageID #: 1224




           Defendant Mackey's motion to preclude the conclusions of MIT
           Media Lab about the popularity of the Ricky Vaughn Twitter ac-
           count is DENIED with regard , to statements made by the
           Defendant himself, while judgement is RESERVED with regard
           to the statements of others and the relevant MIT Media Lab's
           publication itself.
           Defendant Mackey's motion to preclude statements revealing the
           identity of the congressional candidate described in the Com-
           plaint is DENIED without prejudice and with leave to renew if
           the Government seeks to introduce such evidence at trial.
           Defendant Mackey's motion for an order directing the Govern-
           ment to produce additional potentially exculpatory discovery
           materials pursuant to Federal Rule of Criminal Procedure ("Fed.
           R. Crim. P.") 5(f) and Brady v. Maryland, 373 U.S. 83 (1963) is
           DENIED.
           Defendant Mackey's motion in opposition to the court empanel-
           ing a fully vaccinated jury is DENIED AS MOOT.
           The court reserves judgment on all other motions in limine, with
           the intention of making additional decisions between now and
           the beginning of trial, and yet others during trial itself.

            I.   BACKGROUND

           The court assumes familiarity with the Government's theory of
           this case, which charges Defendant Mackey with participating in
           an online conspiracy to injure certain Twitter users' right to vote
           by spreading disinformation about the time, place, and manner
           for voting in the 2016 Presidential election. (See generally Indict-
           ment (Dkt. 8); Comp!. (Dkt. 1); Jan. 23, 2023 M&O (Dkt. 55) .)
           Jury selection is scheduled to begin on March 13, 2023; opening
           statements are set for March 16, 2023. (Dec. 19, 2022 Text Or-
           der.)




                                            2
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 3 of 14 PageID #: 1225




           II.   STANDARD OF REVIEW

           "The purpose of an in limine motion is to aid the trial process by
           enabling the court to rule in advance of trial on the relevance of
           certain forecasted evidence, as to issues that are definitely set for
           trial, without lengthy argument at, or interruption of, the trial."
           Palmieri v. Defaria, 88 F.3d 136, 141 (2d Cir. 1996). 1 "A court
           will exclude evidence on a motion in limine only if it is clearly
           inadmissible on all potential grounds." Laureano v. City of New
           York, No. 17-CV-181 (LAP), 2021 WL 3272002, at *1 (S.D.N.Y.
           July 30, 2021).
           "[C]ourts considering a motion in limine may reserve decision
           until trial, so that the motion is placed in the appropriate factual
           context." Ohio Gas. Ins. Co. v. Twin City Fire Ins. Co., No. 14-CV-
           858 (NGG) (PK), 2019 WL 1365752, at *2 (E.D.N.Y. Mar. 26,
           2019). At trial, the court may also exercise discretion "to alter a
           previous in limine ruling." Luce v. United States, 469 U.S. 38, 41-
           42 (1984).

           III. CERTAIN OF THE DEFENDANT'S MOTIONS IN IJMINE

           As a preliminary matter, all relevant evidence is admissible un-
           less otherwise provided by federal statute, the Federal Rules of
           Evidence ("Rules"), or the Constitution. Fed. R. Evid. 402. Hear-
           say is an out-of-court statement offered for the truth of the matter
           asserted, Fed. R. Evid. 801(c), and is inadmissible unless other-
           wise allowed under statute, the Rules, or as otherwise prescribed
           by the Supreme Court. Fed. R. Evid. 802. There are numerous
           exclusions and exceptions to the general prohibition on hearsay.
           See Fed. R. Evid. 801(d), 803,804.
           All evidence must be relevant to be admissible. Under Rule 401,
           admissible evidence is relevant if "it has any tendency to make a

           1When quoting cases, unless otherwise noted, all citations and internal
           quotation marks are omitted, and all alterations are adopted.




                                             3
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 4 of 14 PageID #: 1226




           fact more or less probable than it would be without the evidence"
           and "the fact is of consequence." Fed. R. Evid. 401. The Second
           Circuit has described this as a "very low standard." United States
           v. White, 692 F.3d 235, 246 (2d Cir. 2012). Courts can, however,
           exclude relevant evidence where the probative value of the evi-
           dence "is substantially outweighed by a danger of . . . unfair
           prejudice, confusing the issues, misleading the jury, undue delay,
           wasting time, or needlessly presenting cumulative evidence."
           Fed. R. Evid. 403 (emphasis added). Probative value in this con-
           text is evaluated in light of evidentiary alternatives. Old Chief v.
           United States, 519 U.S. 172, 184 (1997). "'Unfair prejudice'
           within [this] context means an undue tendency to suggest deci-
           sion on an improper basis, commonly, though not necessarily, an
           emotional one." Advisory Committee's Notes on Fed. R. Evid.
           403. District courts have broad discretion in conducting a Rule
           403 balancing test. See United States v. Bermudez, 529 F.3d 158,
           161-62 (2d Cir. 2008).
               A. Protected Speech Preceding September 2016
           The Defendant asserts that any First Amendment protected
           speech uttered more than sixty days before the 2016 election
           should be precluded from use at trial. (Def. Mot. at 8.) This court
           does not deny that constitutionally protected political speech
           may, at times, be excluded under an assessment of "whether the
           evidence at issue was used for permissible purposes or merely to
           show that [the defendant] was morally reprehensible due to his
           abstract beliefs. United States v. Fell, 531 F.3d 197, 229 (2d Cir.
           2008). And the court acknowledges the need for a careful bal-
           ancing of probative value and prejudicial potential in the context
           of a Rule 403 objection. Fed. R. Evid. 403. The court doubts that
           significant amounts of political speech predating the charged
           conspiracy by many months or years would be relevant but will
           decide such matters on a case-by-case basis during trial. None-
           theless, the Defense's arbitrary and unsupported time cut off-




                                            4
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 5 of 14 PageID #: 1227




           based on a bill that has never been enacted, (Def. Mot at 8), and
           that even if enacted would not create such an evidentiary bar, see
           Deceptive Practices and Voter Intimidation Prevention Act of
           2005, S. 1975, 109th Cong. (2005)-is wholly unfounded. The
           Defendant's motion to preclude the Government's use of pro-
           tected speech prior to September 2016 is therefore DENIED.
               B. Twitter's Reasons for Suspending the Ricky Vaughn
                  Account
           On or about October 5, 2016, Defendant Mackey's first Twitter
           account was suspended for "participating in targeted abuse," in
           violation of Twitter's rules. (Comp!. '[ 12.) Approximately three
           days later, one of Defendant Mackey's associates created a sec-
           ond account for Mackey to access and gave him control of the
           account. (Comp!. '[ 13.) The profile image on this account was
           the same picture that had been used in Defendant Mackey's first
           account. (Id.) Defendant Maclcey's second Twitter account was
           added into preexisting direct message groups, of which he had
           been a member prior to the suspension, after Defendant Mackey
           confirmed via Facebook chat that this new account was in fact
           controlled by him. (Id.) Defendant Mackey's second account was
           suspended on November 2, 2016. (Id. '[ 14.) He created a third
           account on November 3, 2016, which he used to participate in
           pre-existing direct message groups until that account's suspen-
           sion on November 15, 2016. (Id.) The reasoning for the final
           suspension is not at issue, as the charged conduct had already
           transpired when that suspension occurred.
           The Defendant argues that Twitters reasons for suspending his
           accounts are either inadmissible hearsay or unduly prejudicial
           under Rules 401 and 403. (Def. Mot. at 12.) In contrast, the Gov-
           ernment asserts that it has legitimate reasons-that are either
           non-hearsay or covered by an exclusion to the hearsay rule- for
           introducing certain types of statements about two of Defendant
           Mackey's Twitter suspensions, and that the probative nature and




                                           5
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 6 of 14 PageID #: 1228




           relevancy of those statements outweigh any potential prejudicial
           effect. (Gov't Opp. (Dkt. 67) at 11-12.)
                     1.   The Defendant's October 5, 2016 Twitter
                          Suspension
           The parties agree that the reason for Defendant Mackey's first
           suspension is irrelevant to the issue at hand, (Def. Mot. at 12;
           Gov't Opp. at 11), and the court will therefore not address this
           issue.
           It is less clear, however, whether the parties are in agreement as
           to whether the fact of Defendant Mackey's first suspension is rel-
           evant and admissible. The court finds that the fact that the
           Defendant was suspended from Twitter on October 5, 2016 and
           did not return to Twitter until one of his associates assisted him
           in creating a second account approximately three days later,
           (Comp!. 'f 13), is relevant given the need for the jury to under-
           stand Defendant Maclcey's absence from certain conversations.
           Statements to this effect would also not be unduly prejudicial,
           because the probative value of explaining the timeline of events
           and assisting the jury in piecing together when the Defendant
           was and was not present in online chatrooms substantially out-
           weighs any potential prejudicial effect. Defendant Mackey's own
           statements attesting to his suspensions could be properly intro-
           duced by the Government as party-opponent statements. See
           Fed. R. Evid. 801(d)(2)(A). Statements by his co-conspirators, or
           even by Twitter, about the fact of Defendant Mackey's first sus-
           pension may be admitted as needed to contextualize the
           Defendant's own statements. 2 See Arista Records LLC v. Lime G,p.
           LLC, 784 F. Supp. 2d 398, 420 (S.D.N.Y. 2011) ("Where a state-
           ment is deemed admissible as an admission by a party-opponent,

           2 The court intends to speak further on the topic of alleged co-conspirator
           statements in future rulings on motions in limine and at trial. Any rulings
           herein involving alleged co-conspirator statements will be subject to mod-
           ification based on the courts later statements.




                                               6
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 7 of 14 PageID #: 1229




           under Rule 801(d)(2), the surrounding statements providing es-
           sential context may also be considered."); see also Fed. R. Evid.
           106 ("If a party introduces all or part of a writing or recorded
           statement, an adverse party may require the introduction . . . of
           any other part ... that in fairness ought to be considered at the
           same time.").
                    2. The Defendant's November 2, 2016 Twitter
                       Suspension
           According to the parties, Twitter's stated reason for Defendant
           Mackey's second suspension was that he posted memes that were
           "intended to deceive." (Def. Mot. at 12; Gov't Opp. at 11.) Ad-
           mission of this reason would, according to the Defendant, be
           extremely prejudicial given that the Defendant's intent in posting
           certain tweets is central to the prosecution, and knowledge of
           this statement could influence the jury's thoughts on this issue.
           (Id.) The Government counters that statements about the reason-
           ing for Defendant Mackey's November 2, 2016 Twitter
           suspension are admissible, not for the truth of the matter as-
           serted, but because they shed light on how Defendant Mackey
           and his co-conspirators understood and responded to the suspen-
           sion, thereby going to their intent. (Gov't Opp. at 11-12.)
           An out of-court statement offered to demonstrate its effect on a
           witness' state of mind is not hearsay. See United States v. Detrick,
           865 F.2d 17, 21 (2d Cir. 1988). See also United States v. Dupree,
           706 F.3d 131 (2d Cir. 2013) (quoting Fed. R. Evid. 801 (c) advi-
           sory committee's note.) ("[I]f the significance of an offered
           statement lies solely in the fact that it was made, no issue is raised
           as to the truth of anything asserted, and the statement is not
           hearsay. Thus, a statement to show its effect on the listener is not
           hearsay.") The court must address two questions to determine
           the admissibility of such statements: 1) "whether the non-hear-
           say purpose by which the evidence is sought to be justified is
           relevant;" and 2) "whether the probative value of this evidence




                                             7
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 8 of 14 PageID #: 1230




           for its non-hearsay purpose is outweighed by the danger of unfair
           prejudice resulting from" impermissible use of the statement.
           UnitedStatesv. Reyes, 18 F.3d 65, 70 (2d Cir. 1994). ''The greater
           the likelihood of prejudice resulting from the jury's misuse of the
           statement, the greater the justification needed to introduce the
           ''background" evidence for its non-hearsay uses." Id.
           As to the first question, the Second Circuit has used a four-part
           inquiry to determine the relevance of background or state of
           mind evidence. First, "does the background or state of mind evi-
           dence bear upon the defendant's guilt?"; second, "[i]f so, how
           important is it to the jury's understanding of the issues?"; third,
           "[c]an the needed explanation" of state of mind be accurately
           conveyed by "other less prejudicial evidence or by instructions?;"
           and fourth, "[h] as the adversary engaged in a tactic that justifi-
           ably opens the door to such evidence to avoid prejudice[?]"
           United States v. Grecco, 728 F. App'x 32, 35 (2d Cir. 2018) (Sum-
           mary Order) (quoting Reyes, 18 F.3d at 70). Here, the way in
           which the Defendant understood Twitter to have perceived his
           previous tweets is sufficiently related to his mens rea for the
           charged conduct that it may bear upon his guilt and is likely at
           least somewhat important to the jury's understanding of the is-
           sues.
           As to the second question, the court acknowledges that there is
           some risk of prejudice to the jury from introduction of this evi-
           dence. However, this court is also not aware of other less
           prejudicial evidence available to serve this purpose. See Old Chief,
           519 U.S. at 184. The Government's preliminary witness list sug-
           gests that, for statements made by Twitter itself, a representative
           of the declarant may well testify to the same effect as the out-of-
           court statement and be available for cross-examination. See
           Reyes, 18 F.3d at 71; (Government Witness List (Dkt. 78).) And
           here, the court believes that a clear and explicit limiting instruc-
           tion will sufficiently counteract any undue prejudice that may




                                            8
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 9 of 14 PageID #: 1231




           arise from the admission of statements regarding the reasons the
           Defendant's second Twitter suspension. Upon a Defense request
           to do so, the court will thus instruct the jury to consider state-
           ments regarding the reason that the Defendant was suspended
           from Twitter in early November 2016 only insofar as they bear
           on the Defendant's state of mind. The jury will be reminded that
           as Twitter is a private company, neither its internal rules nor its
           administration of such are in any way indicative of whether the
           conduct at issue was legal. Thus, jurors must not accept these
           statements for their truth, but rather must focus on how the De-
           fendant and his co-conspirator's reactions to them bears on his
           state of mind. Taking into consideration the proposed limiting
           instruction, the court does not believe the probative value of this
           evidence is outweighed by its potential for prejudice.
           In sum, the Government will be permitted to introduce evidence
           regarding the fact that the Defendant was suspended from Twit-
           ter first in early October 2016 and again in early November 2016,
           each time rejoining Twitter with a new account a few days later.
           The Government will also be permitted to introduce statements
           regarding how Twitter's reasons for the suspension in early No-
           vember 2016 was understood by the Defendant and his co-
           conspirators. The government will not be permitted to introduce
           evidence regarding Twitter's reasons for suspending the Defend-
           ant from Twitter in early October 2016.
               C. Conclusions of MIT Media Lab about the Riclcy
                  Vaughn Account's Popularity
             The Defendant seeks to preclude the MIT Media Lab's findings
             about the relative popularity of the Ricky Vaughn Twitter ac-
             count as inadmissible hearsay and because it is irrelevant and
             unduly prejudicial pursuant to Rules 401 and 403. (Def. Mot.
             at 12-13.) In response, the Government argues that the




                                            9
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 10 of 14 PageID #: 1232




             "[D]efendant's own statement about the MIT Media Lab's find-
             ings are" admissible as relevant statements of an opposing party
             under Fed. R. Evid. 801(d)(2)(A). (Gov't Opp. at 12-14.)
            A defendant's out-of-court statements are admissible if offered
            against them. Fed R. Evid. 801(d)(2)(A); see also United States
            v. Russo, 302 F.3d 37, 43 (2d Cir. 2002). While statements of
            defendants can, under this rule, be admitted for the truth of the
            matter asserted, it is also true that "the mere utterance of a
            statement, without regard to its truth, may indicate circumstan-
            tially the state of mind ... of the declarant and is not hearsay."
            Smith v. Duncan, 411 F.3d 340,346 n.4 (2d Cir. 2005). State-
            ments made by a defendant on social media or as part of a
            defendant's social media profile, are, if the court finds that the
            profile or post in question was created by the defendant, admis-
            sible both for the truth of the matter asserted under the party
            opponent statement hearsay exclusion and for evidence that the
            statement was uttered, as non-hearsay that goes to the defend-
            ant's state of mind. See Fed. R. Evid. 901 (a); see, e.g., United
            States v. Vayner, 769 F.3d 125, 132 (2d Cir. 2014). In addition,
            at least one court in this district has found that "conversations
            about documents that have not been produced by the govern-
            ment'' are admissible "[b] ased on established law regarding the
            admissibility of an opposing party's out-of-court statements."
            United States v. Watts, 934 F. Supp. 2d 451,466 (E.D.N.Y.
            2013). And "statements of others can be admitted to provide
            necessary context to the defendant's statements." United States
            v. Estevez, No. 16-CR-307-2 (CM), 2017 WL 700775, at *4
            (S.D.N.Y. Feb. 16, 2017). All documents offered for the truth of
            matters asserted must also be authenticated and admitted into
            evidence. Fed. R. Evid. 901(a).
            As the Government states in its opposition, the Defendant re-
            peatedly referenced his ranking on the MIT Media Lab election
            influencer list-in direct message groups, through his tweets,




                                            10
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 11 of 14 PageID #: 1233




            and on his Twitter bio. (Gov't Opp. at 13-14.) The Defendant
            even linked to the relevant medium.com article on Twitter. (Id.
            at 14.) Pursuant to Rule 801(d)(2)(A), and also when admitted
            for non-hearsay purposes, the Defendant's own statements
            about his MIT Media Lab ranking and the MIT Media Lab list,
            are admissible. Furthermore, these statements, as they can also
            be used to show his own beliefs and state of mind regarding his
            ability to reach voters on Twitter, are highly relevant to the in-
            stant prosecution. This probative value also outweighs any
            potential prejudicial effects. Thus, the Defendant's statements
            regarding the MIT Media Lab are not barred as irrelevant or
            overly prejudicial.
            The Government may also seek to introduce statements of oth-
            ers on this topic and will be free to do so if the statements are
            either "to provide necessary context to the [D]efendant's state-
            ments," Estevez, 2017 WL 700775 at *4, or for their effect on
            the Defendant as a listener. It similarly may attempt to intro-
            duce the MIT Media Lab's publications as evidence of the scope
            of the Defendant's online reach. If the Government seeks to do
            so, it must properly authenticate the publications and prove
            their relevance.
            Accordingly, the court DENIES the Defendant's motion to pre-
            clude Defendant Mackey's statements regarding the MIT Media
            lab's rankings. The court RESERVES judgment on statements of
            others regarding these rankings. At trial, the court will rule on
            the admissibility of these statements based on the reasons for
            which they are introduced, and whether they have been
            properly authenticated. In the abundance of caution, the court
            recommends that if the Government intends to introduce publi-
            cations by the MIT Media Lab, they arrange to call an
            appropriate witness to properly authenticate said publications.




                                            11
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 12 of 14 PageID #: 1234




                D. Identity of the Congressional Candidate Described
                   in the Complaint
            The Defendant seeks to preclude the introduction of the identity
            of the congressional candidate who named the Defendant as
            Ricky Vaughn, assuming that congressional candidate does not
            testify at trial. (Def. Mot. at 13.) "Whether or not Mr. Mackey
            puts his identity in issue at trial, the identity of the congressional
            candidate is irrelevant unless the government plans to call him
            as witness" to establish that the Defendant was the twitter user
            going by the moniker Ricky Vaughn. (Id.) The Government re-
            sponds that it does not intend to seek to introduce evidence of
            the candidate's identity unless it calls the candidate as a witness.
            (Gov't Opp. at 15.) Based upon the Government's representa-
            tions, the Defendant's request is DENIED without prejudice and
            with leave to renew if the Government seeks to introduce such
            evidence without calling the congressional candidate as a wit-
            ness.
                E. Brady Material
            The Defendant also makes an application for an order directing
            the Government to produce additional potentially exculpatory
            discovery materials pursuant to Fed. R. Crim. P. 5(£) and Brady.
            (Def. Mot. at 3-5.) In its opposition to the Defendant's motion,
            the Government states that it "is aware of, has complied with,
            and will continue to comply with those obligations." (Gov't Opp.
            at 2.) Specifically, the Defendant first expresses concern that the
            Government may not have sufficiently produced investigative re-
            ports of Agent Rees, as purportedly required by their obligations
            under Fed. R. Crim. P. 5(f) and Brady. (Def. Mot. at 4.) The De-
            fendant also lists several types of purportedly exculpatory
            evidence for which he seeks disclosure by the Government pur-
            suant to Fed. R. Crim. P. 5(f) and Brady. (Id. at 4-5.) In turn, the
            Government asserts, without conceding that these reports or




                                             12
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 13 of 14 PageID #: 1235




            types of evidence were within their Brady obligations, that it dis-
            closed any potentially responsive reports "in an abundance of
            caution" on February 13, 2023. (Gov't Opp. at 2.)
            ''The Second Circuit has held that Brady . . . disclosures need not
            be made immediately upon request by a defendant." United
            States v. Rodriguez, No. 19-CR-779 (AKI-I), 2020 WL 5819503 at
            *10 (S.D.N.Y Sept. 30, 2020) (citing United States v. Coppa, 267
            F.3d 132, 142-46 (2d Cir. 2001)). "Rather, such material must
            be made available with enough time for its effective use by the
            defense at trial or a plea proceeding. Whether such disclosures
            are made in time for effective use will depend on the materiality
            of the evidence at-issue and the circumstances of the case. In
            sum, there is no Brady ... violation unless there is a reasonable
            probability that earlier disclosure of the evidence would have
            produced a different result at trial or at a plea proceeding." Id.
            In accordance with that directive, "[t]he courts of this Circuit re-
            peatedly have denied pretrial requests for discovery orders
            pursuant to Brady where the Government has made [] good faith
            representations" that have complied with disclosure require-
            ments. United States v. Shkreli, No. 15-CR-637 (KAM), 2016 WL
            8711065, at *2 (E.D.N.Y. Dec. 16, 2016) (collecting cases); see
            also United States v. Mohamed, 148 F. Supp. 3d 232, 246
            (E.D.N.Y. 2015); United States v. Vaughan, No. 10-CR-233 (CM),
            2010 WL 3025648, at *2 (S.D.N.Y. July 27, 2010); United States
            v. Underwood, No. 04-CR-424 (RWS), 2005 WL 927012, at *1
            (S.D.N.Y. Apr. 21, 2005); United States v. RW Pro. Leasing Servs.
            Corp., 317 F. Supp. 2d 167, 179 (E.D.N.Y. 2004). "Until proven
            otherwise, we accept the Government's unequivocal representa-
            tions that it has complied with (and will continue to comply with)
            its disclosure obligations under" Brady. United States v. Sterling,
            No. 17-CR-490 (NRB), 2019 WL 2006393, at *2 (S.D.N.YMay 6,
            2019).




                                            13
Case 1:21-cr-00080-NGG Document 88 Filed 03/10/23 Page 14 of 14 PageID #: 1236




               At this stage, this court is satisfied by the Government's unequiv-
               ocal "good faith representations/' Underwood, 2005 WL 927012,
               at *1, that they have complied with and will continue to comply
               with Brady. Thus, Defendant Mackey's application for an order
               directing immediate disclosure is DENIED.

                   F. Vaccinated Jury
               The Defendant's motion in opposition to the court empaneling a
               fully vaccinated jury was rendered moot by the court's February
               1, 2023 text order stating that although jurors will be expected
               to wear masks when in close proximity with other jurors, in both
               the jury box and the jury deliberation room, the court will not
               seek to impanel a fully vaccinated jury. The Defendant's motion
               is therefore DENIED.

               IV. CONCLUSION

               For the reasons discussed herein, certain of the Defendant's mo-
               tions in li.mine are GRANTED, certain of the Defendant's motions
               in limine are DENIED, and judgment is RESERVED on yet others.
               Judgment is RESERVED on all of the Government's motions in
               limine at this time.


      SO ORDERED.


      Dated:      Brooklyn, New York
                  March 10, 2023
                                                             s/Nicholas G. Garaufis
                                                           NICHOIAS G. GARAUFisO
                                                           United States District Judge




                                               14
